            Case 24-55036-jwc                             Doc 6         Filed 05/17/24 Entered 05/17/24 16:15:03                                    Desc Main
                                                                        Document      Page 1 of 1


 Fill in this information to identify your case:


 Debtor 1                          V\i‘k-IA                ' '-9AtkV\
                      First Name                        Middle Name            —Last Name

 Debtor 2
 (Spouse, if filing) First Name                         Middle Name              Last Name
                                                                                                                          fr

 United States Bankruptcy Court for the:                                   District of
                                                                                             (State)

 Case number                                                                                                                                 ,. ALLEN
     (If known)

                                                                                                                         BY:


Official Form 101A
Initial Statement About an Eviction Judgment Against You                                                                                                         12/15

File this form with the court and serve a copy on your landlord when you first file bankruptcy only if:

-1     you rent your residence; and
       your landlord has obtained a judgment for possession in an eviction, unlawful detainer action, or
       similar proceeding (called eviction judgment) against you to possess your residence.


       Landlord's name                01 pV\tf-\ 0                        k,N3 \ avv\ S
       Landlord's address
                                      Number
                                               "Maw-6
                                                 Street
                                                        t/N               410

                                     (0-eA/ \VA
                                      City
                                                                                CAL\
                                                                                State
                                                                                                   SO/cktA
                                                                                                 ZIP Code

If you want to stay in your rented residence after you file your case for bankruptcy, also complete the certification below.


              Certification About Applicable Law and Deposit of Rent



              I certify under penalty of perjury that:

          /0        Under the state or other nonbankruptcy law that applies to the judgment for possession (eviction judgment),
                    I have the right to stay in my residence by paying my landlord the entire delinquent amount.

                    I have given the bankruptcy court clerk a deposit for the rent that would be due during the 30 days after I file
                    the Voluntaty Petition for Individuals Filing for Bankruptcy (Official Form 101).



                      X                 V‘i•-Utr\          SOAd'ckAk
                          Signa ure Of Debtor 1                                                             Signature of Debtor 2


                          DatP5
                                   MM/ DD       /YYYY
                                                              DA                                            Date
                                                                                                                   MM/    DD        / YYYY


                  Stay of Eviction: (a)         First 30 days after bankruptcy. If you checked both boxes above, signed the form to certify that both apply,
                                                and served your landlord with a copy of this statement, the automatic stay under 11 U.S.C. § 362(a)(3) will
                                                apply to the continuation of the eviction against you for 30 days after you file your Voluntary Petition for
                                                Individuals Filing for Bankruptcy (Official Form 101).

                                         (b)    Stay after the initial 30 days. If you wish to stay in your residence after that 30-day period and continue to
                                                receive the protection of the automatic stay under 11 U.S.C. § 362(a)(3), you must pay the entire delinquent
                                                amount to your landlord as stated in the eviction judgment before the 30-day period ends. You must also fill
                                                out Statement About Payment of an Eviction Judgment Against You (Official Form 101B), file it with the
                                                bankruptcy court, and serve your landlord a copy of it before the 30-day period ends.


Check the Bankruptcy Rules ( http://www.uscourts.gov/rules-policies/current-rules-practice-procedure) and the local court's website (to find
your court's website, go to http://www.uscourts.gov/court-locator) for any specific requirements that you might have to meet to serve this
statement. 11 U.S.C. §§362(b)(22) and 362(1)

Official Form 101A                                           Initial Statement About an Eviction Judgment Against You
